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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

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 THE CHEROKEE NATION, et al.                            :
                                                        :
                                 Plaintiffs,            :
                        v.                              :       No. 1:20-cv-02167 (TJK)
                                                        :
 U.S. DEPARTMENT OF THE                                 :    NOTICE OF INTENT TO FILE
 INTERIOR, et al.                                       :       RULE 12(C) MOTION
                                                        :
                                 Defendants.            :
                                                        :
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DEFENDANT GOVERNOR J. KEVIN STITT’S NOTICE OF SUBSTITUTE COUNSEL
             AND INTENT TO FILE RULE 12(C) MOTION

        Defendant Governor J. Kevin Stitt respectfully submits this notice to inform the Court that

he has recently retained the undersigned as substitute counsel and intends to file a motion under

Federal Rule of Civil Procedure 12(c).

        This Court granted Plaintiffs’ motion to file the Second Amended Complaint in this case

on September 22, 2021. On October 23, 2021, the Governor filed an Answer to the Second

Amended Complaint, see ECF No. 110, after other defendants filed motions to dismiss the

Complaint that remain pending. See ECF No. 106 (Federal Defendants’ Motion to Dismiss); ECF

No. 107 (Chairman Mark Woommavovah’s Motion to Dismiss). On June 29, 2022, the Supreme

Court issued its decision in Oklahoma v. Castro-Huerta, 142 S. Ct. 2486 (2022), holding that

Oklahoma has jurisdiction to prosecute crimes committed by non-Indians against Indians in Indian

country. In the wake of that groundbreaking decision, the Governor has conducted a review of

pending litigation involving Oklahoma Tribes and the State.

        As a result of that review, Governor Stitt has retained the undersigned and now intends to

assert the defense that Plaintiffs’ Second Amended Complaint fails to state a claim upon which



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relief can be granted. Under Rule 12, such a defense may be raised in a Rule 12(c) motion, so long

as it is filed “early enough not to delay trial.” Fed. R. Civ. P. 12(c), 12(h)(2)(B). As grounds for

seeking that relief, the Governor expects to make additional arguments concerning the validity of

the compacts at issue that the parties have not yet fully presented. In particular, the Governor will

explain why, based on the allegations of the Complaint and the materials incorporated therein,

Plaintiffs’ claims fail because the underlying compacts are valid as a matter of law.            The

Governor’s motion will thus bear directly on, and may assist the Court in, the appropriate

resolution of this case.

        The Governor is prepared to act expeditiously so as not to unduly delay this litigation.

Accordingly, absent further direction from the Court, the Governor intends to file his Rule 12(c)

motion by November 11, 2022.



Dated: Washington, D.C.
       October 11, 2022

                                                       /s/ Jeffrey B. Wall
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